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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )      CR. No. 23-20191-MSN
                                              )
       v.                                     )
                                              )
EMMITT MARTIN III, et al.,                    )
                                              )
       Defendants.                            )


     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO COMPEL
           DISCOVERY OF DEMETRIUS HALEY’S STATEMENTS


       Defendant Haley seeks to compel the United States to identify prior to trial any statement

he made that is admissible at trial as the statement of a party opponent under Fed. R. Evid.

801(d)(2). Defendant Haley acknowledges that the United States has provided these statements in

discovery and has attempted to guide his review of this discovery, but he still asserts that the

government has not adequately identified the defendant’s statements. The Court should deny the

motion because the United States has provided extensive discovery, including videotape, FBI-

302s, text messages, and grand jury transcripts documenting the defendants’ statements. The law

does not require the government to additionally specify prior to trial what testimony witnesses will

provide at trial. Neither the record in this matter nor the relevant legal authority supports the

defendant’s motion to compel.

                                           Background

       On January 7, 2023, Tyre Nichols was the subject of a traffic stop by Memphis Police

Department (MPD) officers, including two of the defendants. According to the officers, they

stopped Nichols because he was speeding and committing traffic infractions. The officers pulled
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Nichols from his car; repeatedly threatened him, including by threatening to “knock [his] a** out”;

and used force on him following the traffic stop. Nichols, as captured on body-worn camera

footage, protested that the officers were “doing a lot” and said that he was “just trying to go home.”

When the officers continued to use force, Nichols ran from the scene. Officers, including the

remaining defendants, pursued him. When the defendants caught Nichols, they struck, batoned,

and kicked him. As defendant Haley arrived at the scene, he yelled “beat that man,” ran up to

Nichols, and kicked him. Nichols was transported to the hospital where he succumbed to his

injuries and died three days later.

       After the defendants beat Nichols, the defendants stayed at the arrest scene and discussed

amongst themselves striking Nichols and hitting him with “haymakers” and “pieces,” which,

according to witnesses, are both references to punches. The defendants also discussed “rocking”

Nichols, which witnesses have also explained means striking. Body-worn camera footage captures

many of these conversations. Defendant Smith said that he “hit” Nichols “with so many pieces”

and that “we took turns giving that man pieces.” Defendant Smith described the blows as “pop,

pop, pop,” and said that defendant “Bean was rocking, then I jump in and start rocking.” Defendant

Martin said, “Man, I was hitting him with straight haymakers, dog. Man, come on now. I’m

rocking him though.” He added that “everybody rocking [Nichols’] ass” and, as the beating

continued, he admitted that the thought “we about to kill this motherfucker.” During this

conversation, defendant Bean described Nichols as “eating” the blows.

       The United States has provided, among other materials, (1) video footage capturing the

defendants’ actions and statements; (2) interview reports and testimony of multiple eyewitnesses

identifying statements captured on the video and attributing those statements to particular speakers,

including defendant Haley; (3) the names of specific videos with time stamps containing




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statements attributed to the defendants by witnesses; (4) text messages between and among the

defendants and others containing statements by the defendants; and (5) a detailed factual basis

from a co-defendant who entered a guilty plea. In response to defense counsel’s requests, the

undersigned have attempted to assist defense counsel in reviewing and understanding discovery

materials, including by conferring over the phone, by email, and in person.

                                                      Argument

         Defendant Haley has styled his motion as a motion to compel discovery, but, as he

acknowledges, the United States has provided him with discovery. His request is rather for the

United States to detail, four months before trial, the precise testimony it plans to present. The law

does not require the United States to provide final details now on the testimony that it will present

at trial. There is no basis in fact or in law for the motion, and it should be denied.

         I.       The government has produced the defendant’s statements as captured on
                  video, recorded in grand jury proceedings, and documented in reports.

         The United States has provided the defendant with far more notice of which defendant

statements it is likely to introduce at trial than is required by any law or rule. The Indictment

identifies—in more detail than is required in a federal indictment—statements by the defendants

that, as statements made in furtherance of the conspiracy, are admissible against each and every

member of the conspiracy, including defendant Haley. See Fed. R. Evid. 801(d)(2)(E). These

statements are admissible against defendant Haley whether he or one of his co-conspirators made

the statement. 1 For example, where, as the discovery in this case makes clear, defendant Smith




1
  See, e.g., United States v. Martinez, 430 F.3d 317, 325 (6th Cir. 2005) (quoting Fed. R. Evid. 801(d)(2)(E) for the
proposition that “[a] statement is not hearsay if it is offered against a party and is ‘a statement by a coconspirator of
a party during the course and in furtherance of the conspiracy.’”); United States v. Rivera, 136 F. App’x. 925 (7th
Cir. June 16, 2005) 2005 WL 1412033, at *1 (unpublished) (“But any statement made by a conspirator during, and
in furtherance of, a conspiracy is admissible against all co-venturers. Whether any other conspirator heard (or, in
this instance, saw) that statement is irrelevant; agency, not knowledge is the theory of admissibility.”).


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said to his co-conspirators at the arrest scene that he hit Nichols with “so many pieces” and

defendant Martin admitted that he hit Nichols with “straight haymakers,” those statements are

admissible as substantive evidence against the remaining members of the conspiracy, including

defendant Haley. See Fed. R. Evid. 801(d)(2)(E). From the very beginning of this case, with the

Indictment, the government identified statements by defendants that it will seek to introduce at

trial.

         These statements by defendants were provided months ago in discovery. This extensive

discovery included FBI-302s and grand jury transcripts that documented conversations involving

defendant Haley. A review of the discovery in this case shows, for example, that when defendant

Haley learned that defendant Martin and others were chasing Nichols, defendant Haley said to

another officer that he hoped officers beat Nichols. When defendant Haley arrived on the arrest

scene, he yelled: beat that man! Defendant Haley then joined in the assault of Nichols. After the

beating, defendant Haley admitted to friends and to a co-conspirator that he kicked Tyre Nichols,

a fact that he did not include in his report for MPD. Discovery further shows that, when asked by

another officer in the aftermath of the Nichols beating, “who beat dude up last night,” defendant

Haley responded, “Us.”

         The government has additionally produced body-worn camera footage that captured video

and audio of statements made by defendant Haley and his co-conspirators moments after they beat

Tyre Nichols. Witnesses who personally heard these statements and who later reviewed body-

worn camera footage containing these statements will testify to what each defendant said. See

Fed. R. Evid. 901(b)(5) (providing as a method for authentication “[a]n opinion identifying a

person’s voice – whether heard firsthand or through mechanical or electronic transmission or

recording – based on hearing the voice at any time under circumstances that connect it with the




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alleged speaker”).

       As to defendant Haley’s claim that he cannot discern on the video some of the statements

attributed to him, the government has produced FBI-302s, grand jury transcripts, and plea

documents that provide specific references to statements made by defendant Haley and his co-

conspirators. Government counsel previously identified several of those records for review by

counsel for defendant Haley. Similarly, government counsel has identified a time range – a matter

of a few minutes on body-worn footage – that counsel for defendant Haley may focus on in order

to hear the most significant conversations between the members of the conspiracy. The “50+

hours” of footage referenced by defendant Haley in his motion to compel includes footage that is

duplicative, as multiple body-worn cameras provided overlapping coverage of the same

conversations. Finally, defendant Haley can identify the speakers on video as he worked with his

co-defendants and personally participated in the conversations captured on video. The government

is confident of this as it has produced discovery generated by witnesses who have readily identified

the speakers and the statements that they made on video. To the extent that these witnesses

disagree – for example, where one witness may believe that video captured defendant Haley saying

“Beat that man!” before Haley kicked Nichols while another witness may believe that the same

video captured Haley saying “Beat that man’s ass!” – defense counsel may address that on cross-

examination at trial. There is no basis in law to demand now that the parties reach agreement on

the significance of evidence the jury is equipped to assess at trial. Cf. United States v. Young, 553

F. App’x 585, 589 (6th Cir. 2014) (refusing to find Rule 16 violation where government made

audio recording available for inspection prior to trial and then, without given the recording to the

defendant, used recording at trial to lay a foundation for a witness’s voice identification).




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        II.     The defendant failed to identify any authority that supports his motion to
                compel the government to select all of the defendant’s statements it will seek
                to introduce at trial. Instead, the government need only provide those
                statements to the defense in discovery.

        The defendant has not offered any authority that supports his demand that the government

must, months in advance of trial, specifically identify all of the defendants’ statements that it

intends to present at trial. To the contrary, the Sixth Circuit has made clear that the government is

“not charged with the duty” of instructing a defendant as to the content of evidence it has disclosed

prior to trial, so long as the government properly discloses the evidence. United States v. Jamal,

246 F. App'x 351, 362 (6th Cir. 2007) (refusing to find discovery violation or any error where

government disclosed document to defendant prior to trial and explaining: “If the defense hoped

to learn what [information in the document] meant, it could have made an attempt to do so prior

to trial, as it had all of the information contained in the document at its disposal.”).

        Defendant Haley cites Rule 16(a)(1), but Rule 16 provides only that the government must

disclose to the defendant any relevant written or recorded statement by the defendant if the

statement is within the government’s possession, custody, or control. Here, as noted above, the

government has provided body-worn camera footage, FBI-302s, phone records, plea documents,

and grand jury transcripts that capture statements by defendant Haley and his co-conspirators that

the government may seek to introduce at trial. The government will continue to meet its discovery

obligations as the parties prepare for trial.

         The defense cites United States v. Scarborough as support for his motion to compel, but

that case provides only that the trial court may exercise its discretion in resolving a dispute over

the accuracy of a transcript that purports to capture a recorded conversation involving the

defendants.    Neither Scarborough nor Rule 16 supports the defendant’s demand that the

government must identify all of his admissible out-of-court statements at this time. To the



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contrary, federal courts have held that the government does not have any obligation to identify

such statements in advance of trial. See, e.g., United States v. Gilbert, 181 F.3d 152, 162 (1st Cir.

1999) (refusing to agree with defendant that she was “ambushed” by positive voice identification

testimony where government provided audio recording in discovery).

       Finally, the government anticipates calling a former co-conspirator of the defendants to

testify regarding his conversations with defendant Haley and the other members of the conspiracy.

This witness can identify the speaker on video and testify as to the meaning of the statements made

during their conversations. This witness can make these identifications and recount the statements

made by each defendant because he was present for conversations at the scene and because he

previously worked with the defendants. This witness can also testify to conversations that may

not have been captured on video. Statements made by this cooperating witness have been made

available in discovery. Other witnesses – friends and colleagues of the defendants – can identify

speakers based on their appearance and voices on the video footage. Their statements also have

been produced in discovery.

       To the extent that any defendant wishes to challenge the testimony of a particular witness,

he may do so on cross-examination. Should any defendant wish, as defendant Haley suggests, to

retain a voice recognition expert, he may seek to do so, provided he satisfies the relevant authority.

In resolving any dispute over the statements captured on the video footage, the jury may then

decide whether to credit the defense’s retained voice recognition expert or the competing testimony

of the defendant’s former co-conspirator, supervisors, colleagues, and friends.

                                            Conclusion

       As neither the Federal Rules nor the relevant decisions require the government to commit

to precisely identifying each and every one of the defendant’s statements that it will seek to




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introduce at trial, the defendant’s motion to compel should be denied. The government will

continue to produce discovery in accordance with its obligations under the Federal Rules,

including providing the defense with materials that capture the defendant’s statements.

                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Forrest Christian, hereby certify that the on the date below, I electronically filed the

foregoing with the Clerk of Court for the Western District of Tennessee via the Electronic File

System which sent notification of said filing to defense counsel.



                                                            s/Forrest Christian
                                                            FORREST CHRISTIAN
January 28, 2024




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